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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 23-24903-CIV-ALTONAGA

  SECURITIES AND EXCHANGE
  COMMISSION,

         Plaintiff,
  v.

  RISHI KAPOOR, et al.,

        Defendants.
  ______________________________/

      ORDER GRANTING PLAINTIFF SECURITIES AND EXCHANGE COMMISSION’S
       EXPEDITED MOTION FOR APPOINTMENT OF RECEIVER, ASSET FREEZE,
            AND OTHER RELIEF AGAINST THE COMPANY DEFENDANTS

         THIS CAUSE came before the Court on Plaintiff, the Securities and Exchange

  Commission’s Expedited Motion for Appointment of Receiver, Asset Freeze, and Other Relief

  Against the Company Defendants 1 [ECF No. 16]. Plaintiff seeks: (a) the appointment of a receiver

  over the Company Defendants, with full and exclusive power, duty, and authority to administer

  and manage the business affairs, funds, assets, causes in action, and any other property of the

  Company Defendants; marshal and safeguard all of their assets; and take whatever actions are

  necessary for the protection of the investors; (b) an asset freeze against the Company Defendants;

  (c) an order requiring sworn accountings by the Company Defendants; and (d) an order prohibiting


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    The Company Defendants include: Location Ventures, LLC (“LV”), URBIN, LLC (“URBIN”), Patriots
  United, LLC (“Patriots United”); Location Properties, LLC (“L. Properties”); Location Development, LLC
  (“L. Development”); Location Capital, LLC (“L. Capital”); Location Ventures Resources, LLC (“L.
  Resources”); Location Equity Holdings, LLC (“L. Holdings”); Location GP Sponsor, LLC (“L. GP
  Sponsor”); 515 Valencia Sponsor, LLC (“515 Valencia Sponsor”); LV Montana Sponsor, LLC (“LV
  Montana Sponsor”); URBIN Founders Group, LLC (“URBIN Founders”); URBIN CG Sponsor, LLC
  (“URBIN CG Sponsor”); 515 Valencia Partners, LLC (“515 Valencia”); LV Montana Phase I, LLC (“LV
  Montana”); Stewart Grove 1, LLC (“Stewart Grove 1”); Stewart Grove 2, LLC (“Stewart Grove 2”);
  Location Zamora Parent, LLC (“L. Zamora Parent”); URBIN Coral Gables Partners, LLC (“URBIN
  Gables”); URBIN Coconut Grove Partners, LLC (“URBIN Grove”); URBIN Miami Beach Partners, LLC
  (“URBIN Miami Beach”); and URBIN Miami Beach II Phase 1, LLC (“URBIN Miami Beach II”).
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  the destruction of records by the Company Defendants. (See generally Mot.).

           Based on the record, the appointment of a receiver in this action is necessary and

  appropriate for the purposes of marshaling and preserving all assets of the Company Defendants

  (“Receivership Assets”) that: (a) are attributable to funds derived from investors or clients of the

  Company Defendants; (b) are held in constructive trust for the Company Defendants; (c) were

  fraudulently transferred by the Company Defendants; and/or (d) may otherwise be includable as

  assets of the estates of the Company Defendants (collectively, the “Recoverable Assets”).

           Plaintiff has made a sufficient and proper showing in support of the relief granted herein

  by presenting a prima facie case showing a reasonable approximation of a likely disgorgement

  award against the Company Defendants, which exceeds the amount of assets to be frozen. The

  Court therefore finds good cause to believe that, unless it imposes an asset freeze, the Company

  Defendants could dissipate, conceal, or transfer from the jurisdiction of this Court assets that are

  likely subject to an order of disgorgement. (See Emergency Ex Parte Mot. for Asset Freeze &

  Other Relief Against Def. Rishi Kapoor [ECF No. 6] 33–36; see generally Compl. [ECF No. 1];

  Mot.).

           No Defendants oppose the relief requested. (See Mot. 11 (indicating Defendant Rishi

  Kapoor does not oppose the Motion); Def., Patriots United, LLC’s, Resp. to Pl.’s Expedited Mot.

  for Appointment of Receiver, Asset Freeze and Other Relief [] [ECF No. 24] (indicating Defendant

  Patriots United does not oppose the Motion); Notice of Filing Am. Certification of Pre-Filing

  Conference [ECF No. 26] 2 (noting counsel for the remaining Defendants indicated they did not

  object or oppose the requested relief); and Notice of Compliance [ECF No. 27] (same)). Therefore,

  it is




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          ORDERED AND ADJUDGED that the Motion [ECF No. 16] is GRANTED as follows:

          1.      The Court takes exclusive jurisdiction and possession of the assets of whatever kind

  and wherever situated, of the Company Defendants (the “Receivership Defendants”).

          2.      Plaintiff has presented three excellent candidates who have expressed interest in

  and willingness in serving as receiver in this matter. (See Mot. [ECF Nos. 16-1–16-3]). After

  careful review, and until further Order of the Court, Bernice C. Lee is appointed to serve without

  bond as receiver (the “Receiver”) for the estate of the Receivership Defendants, including any of

  its divisions, subsidiaries, affiliates, successors, and assigns; and any fictitious business entities or

  business names created or used by the Receivership Defendants, their divisions, subsidiaries,

  affiliates, successors, and assigns. The Receiver is given authority to retain Kozyak Tropin &

  Throckmorton as counsel.

          I. Asset Freeze

          3.      Except as otherwise specified herein, all Receivership Assets and Recoverable

  Assets are frozen until further order of the Court. Accordingly, all persons and entities with direct

  or indirect control over any Receivership Assets and/or any Recoverable Assets, other than the

  Receiver, are restrained and enjoined from directly or indirectly transferring, setting off, receiving,

  changing, selling, pledging, assigning, liquidating, or otherwise disposing of or withdrawing such

  assets. This freeze shall include, but is not limited to, Receivership Assets and/or Recoverable

  Assets that are on deposit with financial institutions such as banks, brokerage firms, and mutual

  funds, including, but not limited to, the following presently known accounts:




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  powers of any general partners, directors, and/or managers are suspended. Such persons and

  entities shall have no authority with respect to the Receivership Defendants’ operations or assets,

  except to the extent as may hereafter be expressly granted by the Receiver. The Receiver shall

  assume and control the operation of the Receivership Defendants and shall pursue and preserve all

  of their claims.

         6.      No person holding or claiming any position of any sort with the Receivership

  Defendants shall possess any authority to act by or on behalf of the Receivership Defendants.

         7.      Subject to the specific provisions in Sections III through XIV, below, the Receiver

  has the following general powers and duties:

                 A.     To use reasonable efforts to determine the nature, location, and value of all
                        property interests of the Receivership Defendants, including, but not limited
                        to, monies, funds, securities, credits, effects, goods, chattels, lands,
                        premises, leases, claims, rights, and other assets, together with all rents,
                        profits, dividends, interest, or other income attributable thereto, of whatever
                        kind, which the Receivership Defendants own, possess, have a beneficial
                        interest in, or control directly or indirectly (“Receivership Property” or,
                        collectively, the “Receivership Estates”);

                 B.     To take custody, control, and possession of all Receivership Property and
                        records relevant thereto from the Receivership Defendants; to sue for and
                        collect, recover, receive, and take into possession from third parties all
                        Receivership Property and records relevant thereto;

                 C.     To manage, control, operate, and maintain the Receivership Estates and
                        hold in her possession, custody, and control all Receivership Property,
                        pending further Order of the Court;

                 D.     To use Receivership Property for the benefit of the Receivership Estates,
                        making payments and disbursements and incurring expenses as may be
                        necessary or advisable in the ordinary course of business in discharging her
                        duties as Receiver;

                 E.     To take any action which, prior to the entry of this Order, could have been
                        taken by the officers, directors, partners, managers, trustees, and agents of
                        the Receivership Defendants;

                 F.     To engage and employ persons in her discretion to assist her in carrying out

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                         her duties and responsibilities, including, but not limited to, accountants,
                         attorneys, securities traders, registered representatives, financial or business
                         advisers, liquidating agents, real estate agents, forensic experts, brokers,
                         traders, or auctioneers;

                 G.      To take such action as necessary and appropriate for the preservation of
                         Receivership Property or to prevent the dissipation or concealment of
                         Receivership Property;

                 H.      To issue subpoenas for documents and testimony consistent with the
                         Federal Rules of Civil Procedure;

                 I.      To bring such legal actions based on law or equity in any state, federal, or
                         foreign court as the Receiver deems necessary or appropriate in discharging
                         her duties as Receiver;

                 J.      To pursue, resist, and defend all suits, actions, claims, and demands which
                         may now be pending or which may be brought by or asserted against the
                         Receivership Estates;

                 K.      To Engage persons in the Receiver’s discretion to assist the Receiver in
                         carrying out the Receiver’s duties and responsibilities, including, but not
                         limited to, the United States Marshals Service or a private security firm;

                 L.      To expand the Receivership to include other entities, as permitted by law;
                         and

                 M.      To take such other action as may be approved by the Court.

         III. Access to Information

         8.      The Receivership Defendants and the past and/or present officers, directors, agents,

  managers, general and limited partners, trustees, attorneys, accountants, and employees of the

  Receivership Defendants, as well as those acting in their place, are ordered and directed to preserve

  and turn over to the Receiver forthwith all paper and electronic information of, and/or relating to,

  the Receivership Defendants and/or all Receivership Property; such information shall include but

  not be limited to books, records, documents, accounts, and all other instruments and papers.

         9.      The Receivership Defendants and the Receivership Defendants’ past and/or present

  officers, directors, agents, attorneys, managers, shareholders, employees, accountants, debtors,

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  creditors, managers, and general and limited partners, and other appropriate persons or entities

  shall answer under oath to the Receiver all questions which the Receiver may put to them and

  produce all documents as required by the Receiver regarding the business of the Receivership

  Defendants, or any other matter relevant to the operation or administration of the Receivership or

  the collection of funds due to the Receivership Defendants. In the event that the Receiver deems

  it necessary to require the appearance of the aforementioned persons or entities, the Receiver shall

  make her discovery requests in accordance with the Federal Rules of Civil Procedure.

         10.     The Receivership Defendants are required to assist the Receiver in fulfilling her

  duties and obligations. As such, they must respond promptly and truthfully to all requests for

  information and documents from the Receiver.

         IV. Access to Books, Records, and Accounts

         11.     The Receiver is authorized to take immediate possession of all assets, bank

  accounts, or other financial accounts, books and records, and all other documents or instruments

  relating to the Receivership Defendants. All persons and entities having control, custody, or

  possession of any Receivership Property are directed to turn such property over to the Receiver.

         12.     The Receivership Defendants, as well as their agents, servants, employees,

  attorneys, any persons acting for or on behalf of the Receivership Defendants, and any persons

  receiving notice of this Order by personal service, facsimile or electronic mail transmission, or

  otherwise, having possession of the property, business, books, records, accounts, or assets of the

  Receivership Defendants are directed to deliver the same to the Receiver, her agents, and/or

  employees.

         13.     All banks, brokerage firms, financial institutions, and other persons or entities that

  have possession, custody, or control of any assets or funds held by, in the name of, or for the



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  benefit, directly or indirectly, of the Receivership Defendants that receive actual notice of this

  Order by personal service, facsimile or electronic mail transmission, or otherwise shall:

                 A.      Not liquidate, transfer, sell, convey, or otherwise transfer any assets,
                         securities, funds, or accounts in the name of or for the benefit of the
                         Receivership Defendants except upon instructions from the Receiver;

                 B.      Not exercise any form of set-off, alleged set-off, lien, or any form of self-
                         help whatsoever, or refuse to transfer any funds or assets to the Receiver’s
                         control without the permission of the Court;

                 C.      Within five (5) business days of receipt of that notice, file with the Court
                         and serve on the Receiver and counsel for Plaintiff a certified statement
                         setting forth, with respect to each such account or other asset, the balance
                         in the account or description of the assets as of the close of business on the
                         date of receipt of the notice; and,

                 D.      Cooperate expeditiously in providing information and transferring funds,
                         assets, and accounts to the Receiver or at the direction of the Receiver.

         V. Access to Real and Personal Property

         14.     The Receiver is authorized to take immediate possession of all personal property of

  the Receivership Defendants, wherever located, including, but not limited to, electronically stored

  information, computers, laptops, hard drives, external storage drives, and any other such memory,

  media, or electronic storage devices, books, papers, data processing records, evidence of

  indebtedness, bank records and accounts, savings records and accounts, brokerage records and

  accounts, certificates of deposit, stocks, bonds, debentures, and other securities and investments,

  contracts, mortgages, furniture, office supplies, and equipment.

         15.     The Receiver is authorized to take immediate possession of all real property of the

  Receivership Defendants, wherever located, including, but not limited to, all ownership and

  leasehold interests and fixtures. Upon receiving actual notice of this Order by personal service,

  facsimile or electronic mail transmission, or otherwise, all persons other than law enforcement

  officials acting within the course and scope of their official duties, are (without the express written

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  permission of the Receiver) prohibited from: (a) entering such premises; (b) removing anything

  from such premises; or (c) destroying, concealing, or erasing anything on such premises.

         16.      In order to execute the express and implied terms of this Order, the Receiver is

  authorized to change door locks to the premises described above. The Receiver shall have

  exclusive control of the keys. The Receivership Defendants, or any other person acting or

  purporting to act on their behalf, are ordered not to change the locks in any manner, nor to have

  duplicate keys made, nor shall they have keys in their possession during the term of the

  Receivership.

         17.      The Receiver is authorized to open all mail directed to or received by or at the

  offices or post office boxes of the Receivership Defendants, and to inspect all mail opened prior

  to the entry of this Order, to determine whether items or information therein fall within the

  mandates of this Order.

         VI. Notice to Third Parties

         18.      The Receiver shall promptly give notice of her appointment to all known officers,

  directors, agents, employees, shareholders, creditors, debtors, managers, and general and limited

  partners of the Receivership Defendants as the Receiver deems necessary or advisable to effectuate

  the operation of the Receivership.

         19.      All persons and entities owing any obligation, debt, or distribution with respect to

  an ownership interest to the Receivership Defendants shall, until further ordered by the Court, pay

  all such obligations in accordance with the terms thereof to the Receiver; and her receipt of such

  payments shall have the same force and effect as if the Receivership Defendants had received such

  payment.

         20.      In furtherance of her responsibilities, the Receiver is authorized to communicate



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   with and/or serve a copy of this Order upon any person, entity, or government office that she deems

   appropriate to inform them of the status of this matter and/or the financial condition of the

   Receivership Estate. All government offices which maintain public files of security interests in

   real and personal property shall, consistent with such office’s applicable procedures, record this

   Order upon the request of the Receiver or Plaintiff.

          21.     The Receiver is authorized to instruct the United States Postmaster to hold and/or

   reroute mail which is related, directly or indirectly, to the business, operations, or activities of the

   Receivership Defendants (the “Receiver’s Mail”), including all mail addressed to, or for the benefit

   of, the Receivership Defendants. The Postmaster shall not comply with, and shall immediately

   report to the Receiver, any change of address or other instruction given by anyone other than the

   Receiver concerning the Receiver’s Mail. The Receivership Defendants shall not open any of the

   Receiver’s Mail and shall immediately turn over such mail, regardless of when received, to the

   Receiver. All personal mail of the Receivership Defendants, and/or any mail appearing to contain

   privileged information, and/or any mail not falling within the mandate of the Receiver, shall be

   released to the named addressee by the Receiver. The foregoing instructions apply to any

   proprietor, whether individual or entity, of any private mailbox, depository, business or service, or

   mail courier or delivery service, hired, rented, or used by the Receivership Defendants. The

   Receivership Defendants shall not open a new mailbox or take any steps or make any arrangements

   to receive mail in contravention of this Order, whether through the U.S. mail, a private mail

   depository, or courier service.

          22.     Subject to payment for services provided, any entity furnishing water, electric,

   telephone, sewage, garbage, or trash removal services to the Receivership Defendants shall

   maintain such service and transfer any such accounts to the Receiver unless instructed to the



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   contrary by the Receiver.

          VII. Injunction Against Interference with Receiver

          23.     The Receivership Defendants and all persons receiving notice of this Order by

   personal service, facsimile, electronic mail, or otherwise, are restrained and enjoined from directly

   or indirectly taking any action, or causing any action to be taken, without the express written

   agreement of the Receiver, which would:

                  A.      Interfere with the Receiver’s efforts to take control, possession, or
                          management of any Receivership Property; such prohibited actions include
                          but are not limited to using self-help or executing or issuing or causing the
                          execution or issuance of any court attachment, subpoena, replevin,
                          execution, or other process for the purpose of impounding or taking
                          possession of or interfering with or creating or enforcing a lien upon any
                          Receivership Property;

                  B.      Hinder, obstruct, or otherwise interfere with the Receiver in the
                          performance of her duties; such prohibited actions include but are not
                          limited to concealing, destroying, or altering records or information;

                  C.      Dissipate or otherwise diminish the value of any Receivership Property;
                          such prohibited actions include but are not limited to releasing claims or
                          disposing, transferring, exchanging, assigning, or in any way conveying any
                          Receivership Property, enforcing judgments, assessments, or claims against
                          any Receivership Property or the Receivership Defendants, attempting to
                          modify, cancel, terminate, call, extinguish, revoke, or accelerate (the due
                          date) any lease, loan, mortgage, indebtedness, security agreement, or other
                          agreement executed by the Receivership Defendants or which otherwise
                          affects any Receivership Property; or,

                  D.      Interfere with or harass the Receiver or interfere in any manner with the
                          exclusive jurisdiction of the Court over the Receivership Estates.

          24.     The Receivership Defendants shall cooperate with and assist the Receiver in the

   performance of her duties.

          25.     The Receiver shall promptly notify the Court and Plaintiff’s counsel of any failure

   or apparent failure of any person or entity to comply in any way with the terms of this Order.




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             VIII. Stay of Litigation

             26.    As set forth in detail below, the following proceedings, excluding the instant

   proceeding and all police or regulatory actions and actions of Plaintiff related to the above-

   captioned enforcement action, are stayed until further Order of the Court:

             All civil legal proceedings of any nature, including, but not limited to, bankruptcy
             proceedings, arbitration proceedings, foreclosure actions, default proceedings, or
             other actions of any nature involving: (a) the Receiver, in her capacity as Receiver;
             (b) any Receivership Property, wherever located; (c) the Receivership Defendants,
             including subsidiaries and partnerships; or (d) any of the Receivership Defendants’
             past or present officers, directors, managers, agents, or general or limited partners
             sued for, or in connection with, any action taken by them while acting in such
             capacity of any nature, whether as plaintiff, defendant, third-party plaintiff, third-
             party defendant, or otherwise (such proceedings are hereinafter referred to as
             “Ancillary Proceedings”).

             27.    The parties to any and all Ancillary Proceedings are enjoined from commencing or

   continuing any such legal proceeding, or from taking any action in connection with any such

   proceeding, including, but not limited to, the issuance or employment of process.

             28.    All Ancillary Proceedings are stayed in their entirety, and all courts having any

   jurisdiction thereof are enjoined from taking or permitting any action until further order of this

   Court. Further, as to a cause of action accrued or accruing in favor of the Receivership Defendants

   against a third person or party, any applicable statute of limitations is tolled during the period in

   which this injunction against commencement of legal proceedings is in effect as to that cause of

   action.

             IX. Managing Assets

             29.    For the Receivership Estate, the Receiver shall establish one or more custodial

   accounts at a federally insured bank to receive and hold all cash equivalent Receivership Property

   (the “Receivership Funds”).

             30.    The Receiver’s deposit account shall be titled in her name as Receiver, together

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   with a reference to Location Ventures, LLC.

           31.      The Receiver may, without further Order of the Court, transfer, compromise, or

   otherwise dispose of any Receivership Property, other than real estate, in the ordinary course of

   business, on terms and in the manner the Receiver deems most beneficial to the Receivership

   Estate, and with due regard to the realization of the true and proper value of such Receivership

   Property.

           32.      Subject to Paragraph 33 immediately below, the Receiver is authorized to locate,

   list for sale or lease, engage a broker for sale or lease, cause the sale or lease, and take all necessary

   and reasonable actions to cause the sale or lease of all real property in the Receivership Estate,

   either at public or private sale, on terms and in the manner the Receiver deems most beneficial to

   the Receivership Estate, and with due regard to the realization of the true and proper value of such

   real property.

           33.      Upon further Order of the Court, pursuant to such procedures as may be required

   by the Court and additional authority such as 28 U.S.C. sections 2001 and 2004, the Receiver is

   authorized to sell, and transfer clear title to, all real property in the Receivership Estate.

           34.      The Receiver is authorized to take all actions to manage, maintain, and/or wind-

   down business operations of the Receivership Estate, including making legally required payments

   to creditors, employees, and agents of the Receivership Estate and communicating with vendors,

   investors, governmental and regulatory authorities, and others as appropriate.

           35.      The Receiver shall take all necessary steps to enable the Receivership Funds to

   obtain and maintain the status of a taxable “Settlement Fund” within the meaning of Section 468B

   of the Internal Revenue Code and of the regulations, when applicable.




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             X. Investigate and Prosecute Claims

             36.   Subject to the requirement, in Section VIII above, that leave of Court is required to

   resume or commence certain litigation, the Receiver is authorized, empowered, and directed to

   investigate, prosecute, defend, intervene in or otherwise participate in, compromise, and/or adjust

   actions in any state, federal, or foreign court or proceeding of any kind as may in her discretion,

   and in consultation with Plaintiff’s counsel, be advisable or proper to recover and/or conserve

   Receivership Property.

             37.   Subject to her obligation to expend Receivership funds in a reasonable and cost-

   effective manner, the Receiver is authorized, empowered, and directed to investigate the manner

   in which the financial and business affairs of the Receivership Defendants were conducted and

   (after obtaining leave of Court) institute such actions and legal proceedings, for the benefit and on

   behalf of the Receivership Estate, as the Receiver deems necessary and appropriate; the Receiver

   may seek, among other legal and equitable relief, the imposition of constructive trusts,

   disgorgement of profits, asset turnover, avoidance of fraudulent transfers, rescission and

   restitution, collection of debts, and such other relief from the Court as may be necessary to enforce

   this Order. Where appropriate, the Receiver should provide prior notice to counsel for Plaintiff

   before commencing investigations and/or actions.

             38.   The Receiver holds, and is therefore empowered to waive, all privileges, including

   the attorney-client privilege, held by the Receivership Defendants.

             39.   The Receiver has a continuing duty to ensure that there are no conflicts of interest

   between the Receiver, her Retained Personnel (as that term is defined below), and the Receivership

   Estate.




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          XI. Bankruptcy Filing

          40.     The Receiver may seek authorization to file voluntary petitions for relief under Title

   11 of the United States Code (the “Bankruptcy Code”) for the Receivership Defendants. If the

   Receivership Defendants are placed in bankruptcy proceedings, the Receiver may become, and

   may be empowered to operate each of the Receivership Estate as, a debtor in possession. In such

   a situation, the Receiver shall have all of the powers and duties as provided a debtor in possession

   under the Bankruptcy Code to the exclusion of any other person or entity. Pursuant to Paragraph

   4 above, the Receiver is vested with management authority for the Receivership Defendants and

   may therefore file and manage a Chapter 11 petition.

          41.     The provisions of Section VII above bar any person or entity, other than the

   Receiver, from placing the Receivership Defendants in bankruptcy proceedings.

          XII. Liability of Receiver

          42.     Until further Order of the Court, the Receiver is not required to post bond or give

   an undertaking of any type in connection with her fiduciary obligations in this matter.

          43.     The Receiver and her agents, acting within the scope of such agency (“Retained

   Personnel”), are entitled to rely on all outstanding rules of law and Orders of the Court and shall

   not be liable to anyone for their own good-faith compliance with any order, rule, law, judgment,

   or decree. In no event shall the Receiver or Retained Personnel be liable to anyone for their good-

   faith compliance with their duties and responsibilities as Receiver or Retained Personnel; nor shall

   the Receiver or Retained Personnel be liable to anyone for any actions taken or committed by them

   except upon a finding by the Court that they acted or failed to act as a result of malfeasance, bad

   faith, gross negligence, or in reckless disregard of their duties.

          44.     The Court retains jurisdiction over any action filed against the Receiver or Retained



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   Personnel based upon acts or omissions committed in their representative capacities.

          45.     In the event the Receiver decides to resign, the Receiver shall first give written

   notice to Plaintiff’s counsel of record and the Court of her intention, and the resignation shall not

   be effective until the Court appoints a successor. The Receiver shall then follow such instructions

   as the Court may provide.

          XIII. Recommendations and Reports

          46.     The Receiver is authorized, empowered, and directed to develop a plan for the fair,

   reasonable, and efficient recovery and liquidation of all remaining, recovered, and recoverable

   Receivership Property (the “Liquidation Plan”).

          47.     Within thirty (30) days after the end of each calendar quarter, the Receiver shall

   file and serve a full report and accounting of the Receivership Estate (the “Quarterly Status

   Report”), reflecting (to the best of the Receiver’s knowledge as of the period covered by the report)

   the existence, value, and location of all Receivership Property; and of the extent of liabilities, both

   those claimed to exist by others and those the Receiver believes to be legal obligations of the

   Receivership Estate.

          48.     The Quarterly Status Reports shall contain the following:

                  A.      A summary of the operations of the Receiver;

                  B.      The amount of cash on hand, the amount and nature of accrued
                          administrative expenses, and the amount of unencumbered funds in the
                          estate;

                  C.      A schedule of all the Receiver’s receipts and disbursements (attached as
                          Exhibit A to the Quarterly Status Report), with one column for the quarterly
                          period covered and a second column for the entire duration of the
                          Receivership;

                  D.      A description of all known Receivership Property, including approximate
                          or actual valuations, anticipated or proposed dispositions, and reasons for
                          retaining assets where no disposition is intended;

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                  E.      A description of liquidated and unliquidated claims held by the
                          Receivership Estate, including the need for forensic and/or investigatory
                          resources; approximate valuations of claims; and anticipated or proposed
                          methods of enforcing such claims (including likelihood of success in: (i)
                          reducing the claims to judgment; and (ii) collecting such judgments);

                  F.      A list of all known creditors with their addresses and the amounts of their
                          claims;

                  G.      The status of Creditor Claims Proceedings after such proceedings have
                          been commenced; and

                  H.      The Receiver’s recommendations for a continuation or discontinuation of
                          the Receivership and the reasons for the recommendations.

          49.     On the request of Plaintiff, the Receiver shall provide Plaintiff with any

   documentation that Plaintiff deems necessary to meet its reporting requirements, that is mandated

   by statute or Congress, or that is otherwise necessary to further Plaintiff’s mission.

          XIV. Fees, Expenses, and Accountings

          50.     Subject to Paragraphs 52–58 immediately below, the Receiver need not obtain

   Court approval prior to the disbursement of Receivership Funds for expenses in the ordinary course

   of the administration and operation of the Receivership. Further, prior Court approval is not

   required for payments of applicable federal, state, or local taxes.

          51.     Subject to Paragraph 53 immediately below, the Receiver is authorized to solicit

   persons and entities (“Retained Personnel”) to assist her in carrying out the duties and

   responsibilities described in this Order. The Receiver shall not engage any Retained Personnel

   without first obtaining an order of the Court authorizing such engagement.

          52.     The Receiver and Retained Personnel are entitled to reasonable compensation and

   expense reimbursement from the Receivership Estate as described in the “Billing Instructions for

   Receivers in Civil Actions Commenced by the U.S. Securities and Exchange Commission” (the



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   “Billing Instructions”) agreed to by the Receiver. Such compensation shall require the Court’s

   approval.

           53.     Beginning in the first quarter of 2024, and within forty-five (45) days after the end

   of each calendar quarter, the Receiver and Retained Personnel shall apply to the Court for

   compensation and expense reimbursement from the Receivership Estates (the “Quarterly Fee

   Applications”). At least thirty (30) days prior to filing each Quarterly Fee Application with the Court,

   the Receiver will serve upon counsel for Plaintiff a complete copy of the proposed Application, together

   with all exhibits and relevant billing information in a format to be provided by Plaintiff’s staff.

           54.     All Quarterly Fee Applications will be interim and will be subject to cost benefit

   and final reviews at the close of the Receivership. At the close of the Receivership, the Receiver

   will file a final fee application, describing in detail the costs and benefits associated with all

   litigation and other actions pursued by the Receiver during the course of the Receivership.

           55.     Quarterly Fee Applications may be subject to a holdback in the amount of 20% of

   the amount of fees and expenses for each application filed with the Court. The total amounts held

   back during the course of the Receivership will be paid out at the discretion of the Court as part of

   the final fee application submitted at the close of the Receivership.

           56.     Each Quarterly Fee Application shall:

                   A.      Comply with the terms of the Billing Instructions agreed to by the Receiver;
                           and

                   B.      Contain representations (in addition to the Certification required by the
                           Billing Instructions) that: (i) the fees and expenses included therein were
                           incurred in the best interests of the Receivership Estate; and (ii) with the
                           exception of the Billing Instructions, the Receiver has not entered into any
                           agreement, written or oral, express or implied, with any person or entity
                           concerning the amount of compensation paid or to be paid from the
                           Receivership Estate, or any sharing thereof.




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          57.     At the close of the Receivership, the Receiver shall submit a Final Accounting in a

   format to be provided by Plaintiff’s staff, as well as the Receiver’s final application for

   compensation and expense reimbursement.

          XV. Sworn Accounting

          58.     Within forty-five (45) days of the issuance of this Order, the Receivership

   Defendants shall:

                  A.      make a sworn accounting to the Court and Plaintiff of all assets, funds, or
                          other properties, whether real or personal, held by the Receivership
                          Defendants, jointly or individually, or for their direct or indirect beneficial
                          interest, or over which they maintain control, wherever situated, stating the
                          location, value, and disposition of each such asset, fund, and other property;
                          and

                  B.      provide the Court and Plaintiff a sworn identification of all accounts
                          (including, but not limited to, bank accounts, savings accounts, securities
                          accounts, and deposits of any kind and wherever situation) in which the
                          Receivership Defendants, whether solely or jointly, directly or indirectly
                          (including through a corporation, partnership, relative, friend or nominee),
                          either have an interest or over which they have the power or right to exercise
                          control.

          XVI. Records Preservation

          59.     The Receivership Defendants, their directors, officers, agents, servants, employees,

   attorneys, depositories, banks, and those persons in active concert or participation with any one or

   more of them, and each of them, are restrained and enjoined from, directly or indirectly, destroying,

   mutilating, concealing, altering, disposing of, or otherwise rendering illegible in any manner, any

   of the books, records, documents, correspondence, brochures, manuals, papers, ledgers, accounts,

   statements, obligations, files and other property of or pertaining to any of the Defendants, wherever

   located and in whatever form, electronic or otherwise, until further Order of the Court.

          XVII. Other Relief

          60.     This Order shall not apply to property of an entity that has filed for bankruptcy and


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   is not a Receivership Defendant.

          XVIII. Retention of Jurisdiction

          61.       The Court retains jurisdiction over this matter, Defendants, and the Receivership

   Defendants in order to implement and carry out the terms of all orders and decrees that may be

   entered and/or to entertain any suitable application or motion for additional relief within the

   jurisdiction of the Court, and will order other relief that the Court deems appropriate under the

   circumstances.

          DONE AND ORDERED in Miami, Florida this 12th day of January, 2024.



                                                 ________________________________________
                                                 CECILIA M. ALTONAGA
                                                 CHIEF UNITED STATES DISTRICT JUDGE

   cc:    counsel of record




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